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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,

v.                                                     Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel, . . .believed to be
the RMS TITANIC, in rem,

               Defendant.

                OPPOSITION OF RMST TO THE EQUITY COMMITTEE’S
                            MOTION TO INTERVENE

       NOW COMES Plaintiff RMS Titanic, Inc., (“RMST”), by counsel, and opposes the

Motion to Intervene filed on behalf of the Equity Committee (“the EC”). As grounds for this

opposition, RMST states as follows:

I.     BACKGROUND

       On June 14, 2016, RMST, along with its parent company, Premier Exhibitions, Inc. and

certain of its affiliates (collectively, the “Debtors”), filed a voluntary petition in the United States

Bankruptcy Court for the Middle District of Florida, Jacksonville Division (the “Bankruptcy

Court”) for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.

(the “Bankruptcy Code”). The Debtors continue to manage and operate their businesses as debtors

in possession under Bankruptcy Code Sections 1107 and 1108. On August 24, 2016, the United

States Trustee appointed the Official Committee of Unsecured Creditors of Premier Exhibitions,




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Inc. (the “Creditors Committee”) and the Official Committee of Equity Security Holders of

Premier Exhibitions, Inc. (the “EC”).

       On June 1, 2018, the EC filed a Chapter 11 Plan of Reorganization Proposed by the Official

Committee of Equity Security Holders of Premier Exhibitions, Inc. The EC Disclosure was set for

hearing on August 30, 2018. The EC members hold less than 10% of the shares of Premier

Exhibitions, Inc, the parent company to RMST. On August 29, 2018 the EC filed its Amended

Chapter 11 Plan of Reorganization and Amended Disclosure Statement. See, Exhibits 1 and 2

attached hereto.

       On June 15, 2018, the Debtors filed their Motion for Approval of (a) Competitive Bidding

and Sale Procedures; (b) Form and Manner of Notices; (c) Form of Asset Purchase Agreement

(“APA”); (d) Break-Up Fee and Expense Reimbursement; (e) Scheduling Auction and Hearing to

Consider Final Approval of Sale, Including Assumption and Assignment of Related Executory

Contracts and Unexpired Leases; (f) Authorizing Sale of the Transferred Assets Free and Clear of

All Liens, Claims, Encumbrances, and Interests;(g) Settlement with PacBridge Parties; and (h)

Granting Related Relief (the “Sale Motion”). On August 30, 2018, the Debtors filed an Amended

Sale Order and Bid Procedures. See, Exhibit 3 attached hereto. The Sale Motion contemplates the

sale of substantially all of the Debtors’ assets to the Stalking Horse Purchaser pursuant to the APA,

subject to higher and better offers through a competitive auction process. Approval of the bid

procedures set forth in the Sale Motion was set for hearing on August 30, 2018.

       On June 28, 2018, the Creditors Committee filed a Joint Chapter 11 Plan of Reorganization

Proposed by the Official Committee of Unsecured Creditors, the Trustees of the National Maritime

Museum, the Board of Trustees of National Museums and Galleries of Northern Ireland, and

Running Subway Productions, LLC (the “Creditors Committee Plan”) and accompanying



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disclosure statement (the “Creditors Committee Disclosure”). See, Exhibits 4 and 5 attached

hereto.

          On July 6, 2018, the Museum filed a Motion of the Official Committee of Unsecured

Creditors, the Trustees of the National Maritime Museum, the Board of Trustees of National

Museums and Galleries of Northern Ireland, and Running Subway Productions, LLC for Entry of

an Order Scheduling a Status Conference on or Before July 25, 2018 (the “Status Conference

Motion”).

          On August 3, 2018, the Bankruptcy Court entered an Order on the Status Conference

Motion, “to determine an orderly process to consider (1) the Debtors’ Motion for Approval of

Competitive Bidding Procedures and Asset Purchase Agreement, (2) the Official Committee of

Equity Security Holders’ Chapter 11 Plan and Disclosure Statement, and (3) the Official

Committee of Unsecured Creditors’ Chapter 11 Plan and Disclosure Statement.” The Status

Conference Order, directed “the parties [to] take the steps that they believe are necessary for

approval of the proposed sales by” this Court.

          The EC initially tried to enter this case simply by filing a Notice of Appearance. Doc. 467.

After the Court’s Order of August 8, 2018, (Doc. 469), granting RMST’s objections to the Notice

of Appearance, on August 17, 2018, the EC filed a Motion to Intervene (“the Motion”). The

Motion does not provide any reason for intervention, other than, “as an interested party” and

purportedly that the EC is acting, “in accordance with the order from the Bankruptcy Court.” See,

Doc. _____, EC Memo in Support at pp. 1 and 7. The EC Plan authorizes a Liquidating Trustee to

retain Guernsey’s Auction House to conduct a sale of the French Titanic Artifact Collection (the

“FTAC”) in piecemeal fashion and to sell the Subject Titanic Artifact Collection (the “STAC”) in

a manner consistent with the Covenants and Conditions.



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       On August 30, 2018, the Bankruptcy Court conducted a hearing to consider the Debtors’

Sale Motion, the Official Committee of Equity Security Holders’ Chapter 11 Plan and Disclosure

Statement, and the Official Committee of Unsecured Creditors’ Chapter 11 Plan and Disclosure

Statement. At the hearing on August 30, 2018, the Debtors advised the Bankruptcy Court that the

Stalking Horse Purchaser had agreed to increase its proposed purchase price under the Sale

Motion from $17.5 million to $19.5 million. In conjunction with this increased bid, the Debtors’

largest unsecured creditor, their New York City exhibition landlord, 417 Fifth Avenue, (the

“New York Landlord”) advised the Bankruptcy Court that it would oppose both the Creditor

Committee’s Disclosure Statement and Plan and the Equity Committee’s Disclosure Statement

and Plan. Further, the New York Landlord advised the Court that it would vote against both the

EC Plan and the CC Plan. Given the size of its claim, the New York Landlord has a blocking

position with respect to the approval of any Plan of Reorganization.

       The announced position of the New York Landlord makes it legally impossible for either

the CC Plan or the EC Plan to be approved, and therefore no reason exists for either the Creditors

Committee’s Disclosure Statement or the Equity Committee’s Disclosure Statement to be

presented for a solicitation of votes. See, 11 U.S.C. 1126 (voting requires – two thirds in amount

and half in number to approve). The parties are awaiting the Bankruptcy Court’s decision on the

Debtor’s Sale Motion and on the Disclosure Statements.

II.    ARGUMENT

       A.      The EC has No Standing.

               1.     The EC must possess standing to intervene in this matter.
       Before addressing whether the intervention is proper, this Court must ensure that the EC

has standing to pursue its relief. Salvors, Inc. v. Unidentified Wrecked and Abandoned Vessel, 861

F.3d 1278, 1289 (11th Cir. 2017) (citing Dillard v. Chilton Cty. Comm’n, 495 F.3d 1324, 1330
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(11th Cir. 2007) (“Any party whether original or intervening, that seeks relief from a federal court

must have standing to pursue its claims.”)).

       A litigant must possess Article III standing in order to intervene as of right under Federal

Rule of Civil Procedure 24(a)(2). “At least one plaintiff must have standing to seek each form of

relief requested in the complaint.” Town of Chester, N.Y. v. Laroe Estates, Inc., ––– U.S. ––––, –

––– – ––––, 137 S.Ct. 1645, ––– L.Ed.2d –––– (2017). “For all relief sought, there must be a

litigant with standing, whether that litigant joins the lawsuit as a plaintiff, a coplaintiff, or an

intervenor of right.” Id. at ––––, 137 S.Ct. 1645.

               2.      The EC has no injury.

       Standing is “an essential and unchanging part of the case-or-controversy requirement of

Article III” of the United States Constitution. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560,

112 S.Ct. 2130, 2136 (1992). Constitutional standing consists of three elements: (1) an injury in

fact, that is “concrete and particularized” and “actual or imminent”; 2) a causal relationship

between the injury and the conduct complained thereof; and 3) “it must be ‘likely,’ as opposed to

merely ‘speculative,’ that the injury will be ‘redressed by a favorable decision.” Id. (internal

citations omitted).   The party invoking the jurisdiction of this Court bears the burden of

establishing these elements. Id.

       This Court should deny intervention because the EC has not clearly expressed its claimed

injury, or what relief it seeks. Indeed, the EC lacks the required standing due to the absence of any

injury. Outside of the bankruptcy proceedings, as set forth below, neither the EC nor any third-

party has a claim to, or legal interest in the artifacts. Similarly, at this stage of the bankruptcy

proceedings, without a viable Plan or other basis to pursue disposition of the artifacts, the EC has

no legal claim to them. The desire of the EC to intervene in this Court, purportedly to advance a



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Plan that cannot be confirmed, does not constitute a “concrete and particularized” or “actual and

imminent” injury sufficient to confer standing on the EC. Id.

               3.      The standing conferred in R.M.S. Titanic v. Wrecked and Abandoned
                       Vessel has no application to the EC.

       In the matter of R.M.S. Titanic v. Wrecked and Abandoned Vessel, 920 F. Supp. 96 (1996),

John Joslyn filed a motion pursuant to Rule 60(b) of the Federal Rules of Civil Procedure seeking

to rescind the order naming RMST salvor-in-possession. Relying on Darlak v. Columbus-America

Discovery Group, Inc., 59 F.3d 20, 22 (4th Cir. 1995), cert. denied, 516 U.S. 1094, 116 S. Ct. 817,

133 L. ed. 2d 761 (1996), this Court noted that “[the] whole world . . . are parties in an admiralty

cause; and therefore the whole world is bound by the decision.” R.M.S. Titanic, 920 F. Supp. at

98. Accordingly, this Court ruled, “[i]t logically follows that if the whole world are parties bound

by the judgment, then the converse should also be true: the whole world are parties who may

request relief from the judgment.” Id.

       Mr. Joslyn asked the Court to rescind its order naming RMST salvor-in-possession.

Similarly, the plaintiff in Salvors, Inc. likewise sought to become salvor in that case, claiming that

the defendant, “unlawfully retain[ed] exclusive salvage rights to a forty-one-mile stretch of the

Florida coastline, thereby preventing [the plaintiff] from conducting profitable salvage

operations.” Salvors, Inc. 861 F.3d at 1290. In both cases, the action in rem, or against the thing,

applied to the wrecks which were the subject of the arrest proceedings. In other words, the

“specific property against all the world” for which the plaintiffs sought access through intervention

were the wrecks themselves, by obtaining access through salvage rights.

       But the EC Motion does not relate to the RMST’s status as salvor. Unlike the above salvage

standing cases, the EC does not seek to remove RMST as salvor-in-possession through its Motion

to Intervene. Although not clear by the EC Motion or Memorandum, it appears that the EC is

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seeking to intervene merely to protect its purported interest in the artifacts, pursuant to its Plan.

The salvage rights themselves are temporary by their nature, and subject to rescission. See R.M.S.

Titanic, 920 F. Supp. at 98.

       The same is not true with respect to artifacts, for which title has been awarded to a salvor.

“Once the [salvor] lien has been executed and the salvor as lienholder is paid its reward, whether

in money or in kind, the reward becomes the property of the salvor to do with what it wants. R.M.S.

Titanic, Inc. v. The Wrecked and Abandoned Vessel, 286 F.3d 194, 204 (E.D. Va. 1996) (quoting

Point Landing Inc. v. Alabama Dry Dock & Shipbuilding Co., 261 F.2d 861, 866 (5th Cir.1958)).

“The Judicial sale cuts off the rights of all non-parties. The title from the marshal is good against

the world.” Id.

       On August 15, 2011, this Court satisfied RMST’s salvor lien on the artifacts it recovered

from the wreck in 1993, 1994, 1996, 1998, 2000 and 2004 in the form of an in specie award to

RMST of the STAC. As a matter of law, this in specie award conveyed title to these artifacts to

RMST, subject only to the Covenants and Conditions, and which title is “good against the world.”

Id.

       Although the Covenants and Conditions set forth certain limitations on the STAC, they do

not contain any provisions requiring RMST to relinquish or transfer the STAC to any third-parties,

let alone sell them piecemeal at auction. Nor do the Covenants and Conditions vest this Court with

authority to designate, sua sponte, a Subsequent Trustee without such request from the current

Trustee; the Court approves (or rejects) an entity submitted for approval as a replacement Trustee

on application of the current Trustee. See, e.g., Covenants and Conditions, § VI. Similarly, title to

the FTAC belongs to RMST via a proces verbal issued to it by a French Maritime tribunal in 1993.

RMST’s ownership of the FTAC is final and long decided.



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       Indeed, because there has been a final determination of RMST’s rights as to both the artifact

collections, those determinations preclude the EC from claiming a protectable interest in the

collections. In contrast to RMST’s salvage rights, which are temporal in nature, RMST owns the

STAC and the FTAC outright (subject only to the Covenants and Conditions). Although a third-

party may have standing to challenge RMST’s salvage rights, it has no similar standing to seek

relief linked to the artifacts recovered and owned by RMST. Such standing “against the world”

requires relief to be sought against the rem, not against artifacts to which title has already been

transferred.

       Here, in order to seek relief against property owned by RMST, the EC requires

Constitutional standing. It has no injury, let alone an injury in fact that is “concrete and

particularized” and “actual or imminent.” Accordingly, because the EC has no concrete,

particularized injury with respect to a legal claim on the artifacts, it has no standing to intervene

and seek relief from this Court.

       B.      The EC Cannot Satisfy the Elements of Intervention.

       A party who seeks to intervene in a case has two options available under the Federal Rules

of Civil Procedure: intervention of right and permissive intervention. FED. R. CIV. P. 24. For

intervention of right, under Rule 24(a)(2), a court must grant an applicant’s motion to intervene if

it complies with each of the following elements: (1) the motion is timely; (2) the applicant asserts

an interest relating to the property or transaction that is the subject of the action; (3) without

intervention, disposition of the action may, as a practical matter, impair or impede the applicant’s

ability to protect its interest; and (4) the applicant’s interest is not adequately represented by the

other parties. Liberty Mut. Fire Ins. Co. v. Lumber Liquidators, Inc., 314 F.R.D. 180, 183 (E.D.

Va. 2016) (internal citations omitted).



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        The EC cannot comply with any one of the four components in Rule 24(a)(2), let alone all

four. Putting aside whether the Motion is timely, the EC has no injury about which to complain.

As set forth above, given the status of the bankruptcy proceedings, the EC has no interest in the

property to protect and thus no injury or right to intervene under Rule 24(a)(2).


        The EC fares no better under permissive intervention under Rule 24(b). Permissive

intervention requires either a conditional right to intervene by federal statute, or a claim that shares

with the main action a common question of law or fact. Id. Both are lacking by the EC, who has

no legal claim to any property of RMST.

        The EC has no current or prospective legal interest in the property that is the subject of this

litigation, but merely a desire to control its disposition through a Plan that has not been, and is

exceedingly unlikely to be approved. The blocking position of the New York Landlord all but

guarantees the failure of the EC plan. Moreover, pursuant to Order of the Bankruptcy Court entered

on August 3, 2018 (a copy of which is attached hereto as Exhibit 6), Premier Exhibitions, Inc., has

the legal right to proceed with a sale of its assets prior to and outside of a Plan, pursuant to 11 U.S.

Code § 363(b). Premier intends to proceed in this manner. As noted above, as the EC has no interest

in the property at this stage of the proceedings, and thus no injury, it has neither standing nor the

right to intervene in these proceedings. RMST will supplement this response with the Bankruptcy

Court’s decision on the Debtor’s Sale Motion, which decision is anticipated to be rendered prior

to this Court’s hearing on the intervention motions.




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       For the foregoing reasons, RMST respectfully requests that the Court enter an Order

denying the EC’s Motion to Intervene.




                                                   Respectfully submitted,

                                                   R.M.S. TITANIC, INC.

                                                   By Counsel




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                                       CERTIFICATION

       I hereby certify that the foregoing has been electronically filed through the Court’s ECF
system this 31st day of August, 2018.




       /s/
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